958 F.2d 370
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Osborne WYNN, Jr., Plaintiff-Appellant,v.Wendell W. PIXLEY;  Charles H. Gleason;  Jane V. Grizzard;Rachel Rhodes;  Leon V. Padgett;  Gordon Drewry;Tim Johnson;  Robert H. Baldwin;Kenneth Blythe, Defendants-Appellees,andJames A. Smith, Jr.;  Carroll F. Bowles;  Patricia H. Moore;Corrine R. Rowlette;  Morrell Woods, Defendants.
    No. 92-6078.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 2, 1992.Decided March 17, 1992.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   David G. Lowe, Magistrate Judge.  (CA-91-398)
      Osborne Wynn, Jr., appellant pro se.
      William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Osborne Wynn, Jr., appeals from the magistrate judge's order denying relief under 42 U.S.C. § 1983 (1988).*  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the magistrate judge.   Wynn v. Pixley, No. CA-91-398 (E.D.Va. Dec. 23, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         The parties consented to the jurisdiction of the magistrate judge pursuant to 28 U.S.C. § 636(c)(1)
      
    
    